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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                         *
                                                  *
                       Plaintiff,                 *
vs.                                               *        No. 4:08cr00317 SWW
                                                  *
                                                  *
CRAIG A. HAGERTY and                              *
ANGELA L. HAGERTY,                                *
                                                  *
                       Defendants.                *

                                              ORDER

       Defendants Craig A. Hagerty and Angela L. Hagerty, husband and wife, are under

indictment for conspiracy to evade and defeat taxes, income tax evasion, and evasion of payment.

On February 25, 2009, Mr. Hagerty appeared before the Court for a hearing on the matter of his

compliance with the Order Setting Conditions of Pretrial Release in the above-styled case. From

the testimony of the United States Probation Officer and the facts stated on the record, the Court

found that Mr. Hagerty refuses to obey Court orders, has exhibited a pattern of behavior of not

cooperating with his attorney, has shown only defiance, has not obtained or sought employment

in violation of his conditions of pretrial release, traveled to another jurisdiction without proper

notification, deliberately gave the probation officer a wrong address resulting in the probation

officer initially being unable to locate defendant, and has failed to report to the probation officer

for his weekly supervision contact as directed. See Order dated February 25, 2009 [doc.#32].

The Court found by a preponderance of the evidence that Mr. Hagerty poses a serious risk of
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flight and a serious risk of obstruction of justice. Id. (citing 18 U.S.C. § 3142).1 Given Mr.

Hagerty’s failure to comply with his pretrial conditions of release, the Court determined there are

no reasonable conditions of release that can be set. Id. That being so, and given that it was

established by clear and convincing evidence that Mr. Hagerty violated the pretrial conditions of

his release, the Court ordered that Mr. Hagerty’s pretrial release be revoked and that he be

detained pending trial. Id.

          On March 6, 2009, Mr. Hagerty filed a motion for modification of detention order,

opposed by the government [doc.#34]. Mr. Hagerty argued that a material change of

circumstances has occurred that would support his release from jail under appropriate conditions

of release, the material change being (1) a change in his attitude and his realization that the Court

undoubtedly will enforce the conditions of release ordered by Magistrate Judge Ray and (2) that

he has filed a motion whereby the Court will be able to determine in camera whether, based on

his financial affidavit, he is eligible for appointed counsel.2

          The Court held a hearing on Mr. Hagerty’s motion on March 11, 2009, during which

evidence (both documentary and testimonial) was presented and argument was made. By

Ordered dated March 12, 2009 [doc.#42], which memorialized the Court’s ruling from the bench

at the conclusion of the hearing, the Court denied Mr. Hagerty’s motion for modification of

detention order and found that Mr. Hagerty should remain detained in accordance with 18 U.S.C.



          1
             See, e.g., United States v. Orta, 760 F.2d 887 (8th Cir. 1985 (en banc) (standard of review); United States v. Abad,
350 F.3d 793 (8th Cir. 2003) (same); see also United States v. Madoff, 586 F.Supp.2d 240, 247 (S.D.N.Y. 2009) (court must
determine whether the government has established by a preponderance of the evidence that defendant presents a risk of flight or
obstruction of justice).
          2
            The Court has not considered the issue of Mr. Hagerty’s eligibility for appointed counsel and his financial affidavit in
ruling either on the initial question of Mr. Hagerty’s detention or on Mr. Hagerty’s motion for modification of detention order.

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§§ 3142, 3148. Among other things, the Court found that there is no condition of release that

would assure Mr. Hagerty’s compliance with the conditions of release, particularly with respect

to his not moving money around and trying to hide assets from the government, which this Court

finds there remains a serious risk, and that there remains a serious risk of flight on the part of Mr.

Hagerty.

       Now before the Court is Mr. Hagerty’s motion for modification of detention order,

opposed by the government [doc.#44] and supplemental motion for release under conditions that

include property bond [doc.#50]. The government has responded in opposition to both of these

motions.

       Mr. Hagerty states he will pledge three acres of land worth approximately $40,000, and

the residence of his mother in Lincoln, Nebraska, which he states was inherited from his

grandmother and is owned by himself and his two siblings. Mr. Hagerty also states his brother,

Dr. Curt Hagerty, a dentist in Russellville, Arkansas, is willing to serve as his third-party

custodian.

       The Court has considered the matter and will deny Mr. Hagerty’s motion for

modification of detention order and supplemental motion for release under conditions that

include property bond. As noted by the government, the three acre parcel offered by Mr. Hagerty

is not owned in his name, but in the name of Rye, LLC. The land was a buy back of 3 acres from

a 180 acre parcel sold through another entity controlled by Mr. Hagerty, Premier Property

Investments. The sale of the 180 acre tract is referred to in the pending Indictment in Overt Act

45. The buy back in the name of Rye, LLC is part of the government’s evidence that relates to

the charges in Count 8 of the Indictment that Mr. Hagerty took actions to evade the payment of


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his taxes. Thus, the property in question is not only part of the criminal conduct alleged against

Mr. Hagerty, but likely will be subject to tax liens filed on behalf of the State of Arkansas and/or

the Internal Revenue Service.

       Moreover, the government is correct that the context of the financial events that have

transpired in this case since the filing of the indictment belie any notion that a property bond is

appropriate, whether with regard to the presently proposed property, or any other property. Mr.

Hagerty has refused to compensate his attorney leading the Court to appoint counsel. Mr.

Hagerty then refused to provide a financial affidavit to the Court setting forth whether he

qualified for appointed counsel. After Mr. Hagerty filed the affidavit in camera and ex parte so

as not to compromise any Fifth Amendment privilege he may have regarding his association with

assets, the Court entered an order finding that on the face of the Mr. Hagerty’s affidavit, he

qualified for appointment of counsel but may have to reimburse the government for the expense

of counsel if it is later determined that he had sufficient assets. Thus, the three acres could be

subject to disposition with the proceeds being directed as reimbursement for the cost of counsel.

       Concerning the residence in Lincoln, Nebraska, the government correctly notes that there

are substantive questions of whether, if Mr. Hagerty failed to appear, the property could be seized

from multiple owners or would enjoy some type of homestead exemption under Nebraska law

that would bear upon the determination of its adequacy as collateral. As there also is significant

ownership of other persons in the property, the Court finds that a property bond to include the

Nebraska residence would be inadequate.

       Finally, concerning third party custody by Mr. Hagerty’s brother, the Court has already

found that there is no condition of release that would assure Mr. Hagerty’s compliance with the


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conditions of release, particularly with respect to his not moving money around and trying to hide

assets from the government, which this Court finds there remains a serious risk. Third party

custody by Mr. Hagerty’s brother does not address the concerns of the Court that Mr. Hagerty can

freely move and hide assets if released pending trial. In addition, there remains a serious risk of

flight on the part of Mr. Hagerty.

       IT IS THEREFORE ORDERED that Mr. Hagerty’s motion for modification of detention

order, opposed by the government [doc.#44] and supplemental motion for release under

conditions that include property bond [doc.#50] be and they hereby are denied.



                       Dated this 2nd day of April 2009.

                                              /s/Susan Webber Wright

                                              UNITED STATES DISTRICT JUDGE




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